                                                                                     Form 1                                                                                    Page: 1

                                              Individual Estate Property Record and Report
                                                               Asset Cases
Case Number: 09-48174 SWR                                                                     Trustee:          (420470)      Timothy J. Miller
Case Name:            IOTT, KEVIN ROLAND                                                      Filed (f) or Converted (c): 03/19/09 (f)
                      IOTT, LAURA SUE                                                         §341(a) Meeting Date:           05/13/09
Period Ending: 03/31/11                                                                       Claims Bar Date:                11/14/10

                                  1                                          2                            3                           4               5                   6

                     Asset Description                                   Petition/             Estimated Net Value                 Property       Sale/Funds         Asset Fully
          (Scheduled And Unscheduled (u) Property)                     Unscheduled        (Value Determined By Trustee,           Abandoned       Received by     Administered (FA)/
                                                                          Values             Less Liens, Exemptions,              OA=§554(a)       the Estate      Gross Value of
Ref. #                                                                                           and Other Costs)                 DA=§554(c)                      Remaining Assets

 1        5670 Sylvania, Petersburg, MI 49270                              245,000.00                              0.00             DA                     0.00                     FA

 2        Carribean Palm Village                                              3,000.00                             0.00             DA                     0.00                     FA

 3        Cash on hand                                                           200.00                            0.00             DA                     0.00                     FA

 4        United Bank & Trust, Dundee, MI                                        800.00                            0.00             DA                     0.00                     FA

 5        Misc. household items                                               1,600.00                             0.00             DA                     0.00                     FA

 6        General Items                                                          200.00                            0.00             DA                     0.00                     FA

 7        Costume jewelry, wedding rings, engagement ring,                       520.00                            0.00             DA                     0.00                     FA

 8        7mm digital camera                                                     400.00                            0.00             DA                     0.00                     FA

 9        33% - Posey Lake Estates, LLC (See Footnote)                             1.00                        1,500.00                                4,500.00                     FA

10        Iott Tomato Farms, LLC (shut down) (See Footnote)                        1.00                        1,500.00                                    0.00                1,500.00

11        Coca Cola - 10 shares                                                  100.00                            0.00             DA                     0.00                     FA

12        EE Bonds (9 @ $50 bonds)                                               450.00                            0.00             DA                     0.00                     FA

13        Posey Lake Estates, LLC (See Footnote)                                   1.00                        1,500.00                                    0.00                1,500.00

14        1995 Dodge Intrepid                                                    800.00                            0.00             DA                     0.00                     FA

15        1995 Chevy Truck 4x4                                                   200.00                            0.00             DA                     0.00                     FA

16        J. Deere 5303 Tractor                                               9,400.00                             0.00             DA                     0.00                     FA

17        Miscellaneous tools                                                    100.00                            0.00             DA                     0.00                     FA

18        J.D. Lawn Mower                                                        200.00                            0.00             DA                     0.00                     FA

19        5 cemetery lots                                                     1,500.00                             0.00             DA                     0.00                     FA

20        Bicycle                                                                 10.00                            0.00             DA                     0.00                     FA

21        Gas Grill                                                              100.00                            0.00             DA                     0.00                     FA

22        Torches                                                                150.00                            0.00             DA                     0.00                     FA

23        Potential Tax Refund                                               Unknown                               0.00             DA                     0.00                     FA

 Int      INTEREST (u)                                                       Unknown                               N/A                                     0.11               Unknown

 24       Assets         Totals (Excluding unknown values)                $264,733.00                         $4,500.00                               $4,500.11               $3,000.00


       RE PROP# 9           Per order December 04, 2009 trustee to be paid $1500 for interest in asset and trustee to pay $1.00
                            exemption to the Debtors.



                    09-48174-swr                 Doc 61            Filed 04/27/11                Entered 04/27/11 10:48:40 Printed:
                                                                                                                               Page 04/26/2011
                                                                                                                                          1 of11:47
                                                                                                                                                4 AM                             V.12.56
                                                                                 Form 1                                                                                    Page: 2

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 09-48174 SWR                                                                 Trustee:         (420470)       Timothy J. Miller
Case Name:       IOTT, KEVIN ROLAND                                                       Filed (f) or Converted (c): 03/19/09 (f)
                 IOTT, LAURA SUE                                                          §341(a) Meeting Date:           05/13/09
Period Ending: 03/31/11                                                                   Claims Bar Date:                11/14/10

                                1                                        2                            3                           4               5                    6

                    Asset Description                                Petition/             Estimated Net Value                 Property       Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,           Abandoned       Received by      Administered (FA)/
                                                                      Values             Less Liens, Exemptions,              OA=§554(a)       the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                 DA=§554(c)                       Remaining Assets


                       Payment from Fifth Third Bank received August 18, 2010 in the amount of $4500.00. This estate and
                       two other bankruptcy estates have equal one-third interests ($1,500.00 each) in the proceeds.
                       Therefore, from the $4,500.00 in proceeds, the sum of $1,500.00 will be paid from this estate to the
                        estate of Randal and Kimberly LaRocca no. 09-48185 and the sume of $1,500.00 will be paid to the
                       estate of Benjamin and Cynthia LaRocca no. 09-48181.
     RE PROP# 10       Interest under investigation.
     RE PROP# 13       Interest under investigation.



     Major Activities Affecting Case Closing:

                 Investigation of Debtor's businesses.
                4/10 May persue litigation against debtor
                4/13/11 investigation of Debtor's interest in local telephone company continuing review

     Initial Projected Date Of Final Report (TFR):       November 29, 2010                  Current Projected Date Of Final Report (TFR):       May 20, 2011




               April 26, 2011                                                                       /s/ Timothy J. Miller
          __________________________                                                                _________________________________________________________________
                         Date                                                                       Timothy J. Miller




               09-48174-swr                  Doc 61           Filed 04/27/11                 Entered 04/27/11 10:48:40 Printed:
                                                                                                                           Page 04/26/2011
                                                                                                                                      2 of11:47
                                                                                                                                            4 AM                            V.12.56
                                                                                    Form 2                                                                                           Page: 1

                                                      Cash Receipts And Disbursements Record
Case Number:           09-48174 SWR                                                                    Trustee:            Timothy J. Miller (420470)
Case Name:             IOTT, KEVIN ROLAND                                                              Bank Name:          The Bank of New York Mellon
                       IOTT, LAURA SUE                                                                 Account:            9200-******26-65 - Money Market Account
Taxpayer ID #:         **-***8884                                                                      Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 03/31/11                                                                                Separate Bond: N/A

   1             2                              3                                     4                                                5                    6                    7

 Trans.    {Ref #} /                                                                                                                Receipts        Disbursements           Money Market
  Date     Check #              Paid To / Received From              Description of Transaction                   T-Code               $                  $                Account Balance
08/18/10       {9}           Fifth Third Bank                Per order December 04, 2009 trustee to be            1129-000              4,500.00                                     4,500.00
                                                             paid $1500 for interest in asset.
                                                             Payment from Fifth Third Bank received August
                                                             18, 2010 in the amount of $4500.00. This
                                                             estate and two other bankruptcy estates have
                                                             equal one-third interests ($1,500.00 each) i
08/24/10                     To Account #9200******2666      transfer to checking to P/O 12/4/09                  9999-000                                      3,000.00             1,500.00
08/31/10         Int         The Bank of New York Mellon     Interest posting at 0.0700%                          1270-000                   0.05                                    1,500.05
09/07/10                     To Account #9200******2666      transfer to checking for court reporting fees        9999-000                                        70.00              1,430.05
09/30/10         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,430.06
10/28/10                     To Account #9200******2666      transfer to checking for Court reporting fees        9999-000                                        70.00              1,360.06
10/29/10         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,360.07
12/31/10         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,360.08
01/31/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,360.09
02/28/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,360.10
03/31/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,360.11

                                                                                   ACCOUNT TOTALS                                       4,500.11                3,140.00          $1,360.11
                                                                                           Less: Bank Transfers                              0.00               3,140.00
                                                                                   Subtotal                                             4,500.11                   0.00
                                                                                           Less: Payments to Debtors                                               0.00
                                                                                   NET Receipts / Disbursements                        $4,500.11                  $0.00




                  09-48174-swr
{} Asset reference(s)                               Doc 61    Filed 04/27/11                     Entered 04/27/11 10:48:40 Printed:
                                                                                                                               Page       3 of11:47
                                                                                                                                    04/26/2011  4 AM                                  V.12.56
                                                                                    Form 2                                                                                            Page: 2

                                                     Cash Receipts And Disbursements Record
Case Number:         09-48174 SWR                                                                       Trustee:            Timothy J. Miller (420470)
Case Name:           IOTT, KEVIN ROLAND                                                                 Bank Name:          The Bank of New York Mellon
                     IOTT, LAURA SUE                                                                    Account:            9200-******26-66 - Checking Account
Taxpayer ID #:       **-***8884                                                                         Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 03/31/11                                                                                 Separate Bond: N/A

   1             2                           3                                        4                                                 5                    6                    7

 Trans.    {Ref #} /                                                                                                                 Receipts        Disbursements             Checking
  Date     Check #            Paid To / Received From                  Description of Transaction                  T-Code               $                  $                Account Balance
08/24/10                   From Account #9200******2665      transfer to checking to P/O 12/4/09                   9999-000              3,000.00                                     3,000.00
08/24/10     101           Bankruptcy Estate of Benjamin &   Amount owed to estate from Fifth Third p/o            8500-002                                      1,500.00             1,500.00
                           Cynthia LaRocca                   12/4/09
08/24/10     102           Bankruptcy Estate of Randal &     amount owed to estate from Fifth Third p/o            8500-002                                      1,500.00                0.00
                           Kimberly LaRocca                  12/4/09
09/07/10                   From Account #9200******2665      transfer to checking for court reporting fees         9999-000                 70.00                                       70.00
09/07/10     103           Luzod Reporting Service           court reporting services 8/30/10 invoice              3992-000                                        70.00                 0.00
                                                             #052380
10/28/10                   From Account #9200******2665      transfer to checking for Court reporting fees         9999-000                 70.00                                       70.00
10/28/10     104           Luzod Reporting Service           reporting service on 10/20/10 invocie #068557         3991-000                                        70.00                 0.00

                                                                                   ACCOUNT TOTALS                                        3,140.00                3,140.00               $0.00
                                                                                           Less: Bank Transfers                          3,140.00                   0.00
                                                                                   Subtotal                                                   0.00               3,140.00
                                                                                           Less: Payments to Debtors                                                0.00
                                                                                   NET Receipts / Disbursements                             $0.00            $3,140.00



                                                                                                                                           Net                Net                  Account
                                                                                   TOTAL - ALL ACCOUNTS                                  Receipts        Disbursements             Balances

                                                                                   MMA # 9200-******26-65                                4,500.11                   0.00              1,360.11
                                                                                   Checking # 9200-******26-66                                0.00               3,140.00                0.00

                                                                                                                                        $4,500.11            $3,140.00             $1,360.11




                  April 26, 2011                                                           /s/ Timothy J. Miller
           __________________________                                                      _________________________________________________________________
                              Date                                                         Timothy J. Miller




                  09-48174-swr
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                                                                                                                            Page       4 of11:47
                                                                                                                                 04/26/2011  4 AM                                      V.12.56
